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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                  *

UNITED STATES OF AMERICA                          *

        v.                                        *           CRIMINAL NO. JKB-19-0132

J.J.P. (Male Juvenile),                           *

        Defendant.                                *

        *       *      *       *       *      *       *       *       *     *       *       *

                                           MEMORANDUM

        On January 17, 2020, this Court granted the government’s motion to transfer J.J.P. to adult

status. (Mem. Op., ECF No. 42.) Now pending before the Court is J.J.P.’s motion to reconsider.

(Mot. Recons., ECF No. 48.)

        The motion is fully briefed. No hearing is required. See Local Rule 105.6 (D. Md. 2018).

For the reasons set forth below, the Court will deny the motion.

   I.        Factual and Procedural Background

        On March 20, 2019, the government filed a Juvenile Information charging J.J.P. with seven

racketeering-related offenses. (Information, ECF No. 1.) The charges related to two murders, two

assaults, and other racketeering activity that J.J.P. was allegedly involved with as a member of the

Fulton clique of MS-13. (Id. ¶ 14.) Although J.J.P. has since reached the age of maturity, he was

under the age of 18 at the time of the alleged offenses. (Id. ¶ 1.)

        On May 3, 2019, the government moved to transfer the case from a juvenile proceeding to

the United States District Court where J.J.P. could be prosecuted as an adult. (Mot. Transfer, ECF

No. 22.) Under the Juvenile Justice and Delinquency Prevention Act (“JJDPA”), 18 U.S.C. § 5031

et seq., the government can prosecute a juvenile as an adult in federal court where the court has

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jurisdiction over the case and transfer to adult status is “in the interest of justice.” § 5032. A

hearing was held on January 13, 2020 to determine the appropriateness of transfer. (ECF No. 41.)

          After reviewing the written submissions and considering the arguments presented during

the hearing, the Court granted the government’s motion to transfer J.J.P. to adult status. (Mem.

Op. at 8.) Approximately two months later, the grand jury returned a Sixth Superseding Indictment

in the matter of United States v. Guerra-Castillo, et al., Case No. JKB-16-259, in which it charged

J.J.P. as an adult in a RICO conspiracy and related charges. (Case No. 16-259, ECF No. 883.)

          In relation to the Guerra-Castillo matter, J.J.P. was appointed new counsel. (Id., ECF No.

890.)     J.J.P.’s new counsel now asks the Court to reconsider its prior ruling granting the

government’s motion to transfer J.J.P. to adult status. (Mot. Recons. at 1.) J.J.P contends

reconsideration is warranted because the legal standard the Court applied in the transfer analysis

is unconstitutional. (Id.)

    II.      Timeliness of the Motion to Reconsider

          The first issue before the Court is whether J.J.P.’s motion to reconsider is timely. Under

Local Rule 105.10, a motion to reconsider must be filed within fourteen days after entry of a court

order. Local R. 105.10; Local R. 207 (applying Rule 105 to criminal cases). Here, it is not disputed

that J.J.P. filed his motion almost two months after the deadline expired for filing a motion to

reconsider. (Opp’n Mot. Recons. at 2, ECF No. 51; Reply at 2, ECF No. 53.)

          Nevertheless, J.J.P. contends that the Court should still consider his motion because Local

Rule 604’s good cause exception applies. (Reply at 2.) There is good cause, J.J.P. argues, because

the brief submitted by J.J.P.’s prior counsel contained “glaring deficiencies,” and J.J.P.’s new

counsel was prompt in filing its motion to reconsider after being appointed.1 (Id. at 2–3.)


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         J.J.P. also argues there is good cause to suspend the local rules because the motion to reconsider identifies a
clear error of law and it is ultimately the job of a federal court to get the law right. (Reply at 5.) For the reasons

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           Even if the latter is true, the good cause exception is not a tool for newly appointed

attorneys to reargue issues they believe they could have argued better than their predecessors.

J.J.P. is correct that the brief submitted by J.J.P.’s prior counsel did not address the key factors

relevant to the transfer analysis. (See ECF No. 34.) However, J.J.P.’s prior counsel did present

arguments with respect to each of the six factors during the transfer hearing. Additionally, the

Court conducted its own independent investigation into the record before reaching its decision to

grant the motion to transfer—it did not, in other words, rely on the brief submitted by prior counsel

to identify facts in the record that were favorable to J.J.P.

           The Court must also keep in mind the extent to which the Court’s prior opinion has already

been relied upon. After the Court issued its prior ruling, the government sought and obtained an

indictment charging J.J.P. as an adult in Guerra-Castillo, et al. The government was preparing to

try J.J.P. as a defendant in that trial, which was scheduled to begin on June 1, 2020.2 The purpose

of having a deadline for motions to reconsider is to avoid situations like this where the parties, the

Court, and in this case grand jurors, spend time and effort on a matter based on an assumption that

a decision is final, only to have that seemingly settled decision re-opened.

           For all these reasons, the Court concludes the good cause exception does not apply, and it

will deny J.J.P.’s motion to reconsider as untimely. Even if the motion was timely, however, the

Court would still deny the motion on the merits for the reasons set out below.

    III.      The Constitutionality of the Legal Standard

           J.J.P.’s primary contention in his motion to reconsider is that the Court applied an

unconstitutional legal standard in the transfer analysis. J.J.P. acknowledges that the standard the



explained in Part III, J.J.P.’s motion does not identify a clear error of law, and therefore, the motion does not “itself
demonstrate[] good cause to suspend the Local Rules . . . .” (Id.)
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        The Court recently postponed this trial because of the Covid-19 pandemic. (Case No. 16-259, ECF No. 906.)

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Court applied is the standard that has long been employed in the Fourth Circuit, but J.J.P. argues

that that standard has been rendered unconstitutional by recent Supreme Court cases addressing

juvenile justice. (Mot. Recons. at 5–9.)

       To understand J.J.P.’s constitutional arguments, a review of the legal landscape and the

Court’s prior opinion is helpful. Under the JJDPA, the government can prosecute a juvenile as an

adult in federal court where the court has jurisdiction over the case and transfer to adult status is

“in the interest of justice.” 18 U.S.C. § 5032. Section 5032 sets forth six factors for the Court to

weigh in making this determination:

       [1] the age and social background of the juvenile; [2] the nature of the alleged offense; [3]
       the extent and nature of the juvenile’s prior delinquency record; [4] the juvenile’s present
       intellectual development and psychological maturity; [5] the nature of past treatment
       efforts and the juvenile’s response to such efforts; [6] the availability of programs designed
       to treat the juvenile’s behavioral problems.

       The Fourth Circuit, along with other circuits, has concluded that the second factor—the

nature of the alleged offense—is the most important factor in the analysis. See United States v.

Robinson, 404 F.3d 850, 859 (4th Cir. 2005) (“[T]he nature and severity of the crimes is the most

important factor.”); United States v. Juvenile Male No. 1, 86 F.3d 1314, 1323 (4th Cir. 1996) (“In

the weighing of the various factors, the nature of the crime clearly predominates.”).

        In its prior opinion, the Court analyzed each of the six factors relevant to the transfer

analysis. It concluded that the first and third factors weighed against transfer, the second factor

weighed in favor of transfer, and the remaining factors were neutral. (Mem. Op. at 8.) Even

though only one factor—the nature of the alleged offense—weighed in favor of transfer, the Court

concluded that transfer was warranted. (Id.) The Court explained that this was because the

allegations surrounding J.J.P.’s offense were “extreme”: the murders that J.J.P. allegedly

participated in were gruesome, premediated, and involved dismemberment.                 (Id. at 4–5.)



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Therefore, this factor weighed strongly in favor of transfer, and none of the factors that weighed

against transfer did so with enough force to outweigh it. (Id. at 8.) Accordingly, the Court

concluded transfer was in the “interest of justice” and granted the government’s motion.

       J.J.P. now contends the “profound weight” this Court placed on the second factor was

unconstitutional. (Mot. Recons. at 3.) J.J.P. points to four Supreme Court cases to support his

position: (1) Roper v. Simmons, 543 U.S. 551 (2005), which held that the death penalty cannot

apply to juvenile offenders; (2) Graham v. Florida, 560 U.S. 48 (2010), which held that a

mandatory life sentence without parole cannot apply to juvenile non-homicide offenders; (3)

J.D.B. v. North Carolina, 564 U.S. 261 (2011), which held that a juvenile’s age can factor into the

analysis of whether a person in the juvenile’s position would have thought they were in custody

for Miranda purposes; and (4) Miller v. Alabama, 567 U.S. 460 (2012), which held that a

mandatory life sentence without parole cannot apply to juvenile offenders. (Mot. Recons. at 5–8.)

According to J.J.P., these cases articulate an understanding that juvenile minds are different from

adult minds, and that juveniles as a whole are less culpable for their actions than adults. (Id. at 5–

9.) Such an understanding, J.J.P. argues, is inconsistent with the Fourth Circuit’s juvenile transfer

standard, which places more weight on the juvenile’s conduct than on these unique attributes of

juveniles. (Id.)

       The Court is not persuaded that the four cases cited by J.J.P. render the Fourth Circuit’s

transfer standard unconstitutional. Three of these cases—Roper, Graham, and Miller—are about

whether sentencing a juvenile to the law’s harshest penalties constitutes cruel and unusual

punishment under the Eighth Amendment. Whether and when a juvenile can be charged as an

adult is simply a different question that implicates different constitutional considerations. It is

even less clear to the Court how the holding in J.D.B.—that a juvenile’s age informs the Miranda



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custody analysis—speaks to the question of the role that a juvenile’s alleged conduct can play in

a transfer analysis.

         Even if one considers the broader “fundamental principle” J.J.P. identifies in these cases—

that “children are scientifically and thus constitutionally different than adults”—there is no basis

to conclude that this principle conflicts with the Fourth Circuit’s legal standard. (Mot. Recons. at

5 (emphasis in original); Reply at 10.) The Fourth Circuit’s standard recognizes that juveniles are

different from adults: that is why it requires courts to conduct a six-factor analysis that accounts

for the unique attributes of juveniles before permitting a juvenile to be prosecuted as an adult.

Here, the Court considered these unique attributes but determined that transfer was warranted

because of the extreme nature of the allegations J.J.P. was facing.3 (Mem. Op. at 8.) However,

this did not equate to a conclusion that J.J.P. was “scientifically and thus constitutionally” the same

as an adult, and the Court does not hold that view now post-transfer. In sum, J.J.P.’s juvenile

status has played a role and, when appropriate, will continue to play a role in this case—that is

consistent with the broader “fundamental principle” J.J.P. identifies.

         Finally, the Court notes that even if J.J.P.’s legal theory was plausible, adopting such a

theory would require upending well-established Fourth Circuit precedent and extending the

holdings of four Supreme Court cases into a context in which it does not appear any court has




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          The Court takes a moment here to elaborate on this holding and to address several instances in which J.J.P.
mischaracterizes it. J.J.P. is correct that the nature of the alleged offenses played a very significant role in the Court’s
conclusion that transfer was warranted. However, the Court’s prior ruling was not based “entirely” on the second
factor (Mot. Recons. at 2–3), nor did the Court “completely dismiss” the factors that weighed against transfer (Reply
at 1). Instead, the Court concluded that the second factor—the most important factor—weighed heavily in favor of
transfer, and none of the factors that weighed against transfer did so with enough force to outweigh it. (Mem. Op. at
8.) That is not a conclusion based “entirely” on the second factor; it is a conclusion based on all six factors. The
Court also did not engage in impermissible burden shifting to reach this conclusion (Reply at 14); what J.J.P. describes
as burden shifting is the process of weighing factors and concluding that the factors that weighed against transfer did
not sufficiently counteract the factor that weighed in favor of transfer. (Mem. Op. at 8.) Although these distinctions
may seem technical, the Court notes them because they are relevant to J.J.P.’s contention that the Court applied an
unconstitutional legal standard.

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applied them. That is not the role of this Court. See Jones v. Tyson Foods, Inc., 378 F. Supp. 2d

705, 709 (E.D. Va. 2004), aff’d sub nom. Jones v. Tyson Foods, 126 F. App’x 106 (4th Cir. 2005)

(“[A] district court in a circuit owes obedience to a decision of the court of appeals in that circuit

and must follow it until the court of appeals overrules it.”) (citing Moore’s Federal Practice,

134.02(2), 3rd Ed., 2000).

         Accordingly, the Court concludes that J.J.P.’s argument that the Court applied an

unconstitutional legal standard does not provide grounds for reconsidering the transfer decision.

   IV.      Evidence Omitted or Inadequately Argued under the Wrong Legal Standard

         J.J.P.’s second contention in his motion to reconsider is that the Court should reconsider

each of the six factors because there was “evidence omitted” from the prior hearing or

“inadequately argued under the wrong standard.” (Mot. Recons. at 10.)

         The Court has already concluded that it applied the correct legal standard in its transfer

analysis, so it will not reconsider the factors under the theory that there was evidence “inadequately

argued under the wrong standard.” (Id.) As for the alleged omitted evidence, the only omitted

evidence J.J.P. identifies is that he is not alleged to have “played a leadership role or persuaded

others to participate in the crime[s].” (Id. at 11.) J.J.P. contends this piece of omitted evidence

warrants reconsideration of the transfer decision because the lack of a leadership role is the

“dispositive” issue under the second factor. (Id.)

         The Court disagrees. First, whether a juvenile plays a leadership role in a crime is not

dispositive with respect to the second factor: the plain text of § 5032 states that a leadership role

“if found to exist, shall weigh in favor of a transfer to adult status, but the absence of this factor

shall not preclude such a transfer.” 18 U.S.C. § 5032 (emphasis added). Second, the Court’s prior

opinion was not based on an assumption that J.J.P. was a leader. As the Court explained, its



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conclusion with respect to the second factor was based on the allegations that J.J.P. “actively

wielded weapons during the violent attacks” and was allegedly so involved with the murders “that

his conduct earned him the nickname ‘Little Jason’ within the Fulton clique—an apparent

reference to the violent antagonist in a horror franchise.” (Mem. Op. at 5.) This degree of

participation was sufficient to convince the Court then and now that the second factor weighs

heavily in favor of transfer, even if J.J.P. is not alleged to have led or convinced others to

participate in the murders.

         Therefore, the Court concludes that the “evidence omitted” or “inadequately argued under

the wrong legal standard” does not provide grounds for reconsidering the transfer decision. (See

Mot. Recons. at 10.)

    V.       Conclusion

         For the reasons set forth above, the Court will deny J.J.P.’s motion to reconsider.4


         DATED this 22nd day of April, 2020.

                                                               BY THE COURT:



                                                                            /s/
                                                               James K. Bredar
                                                               Chief Judge




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          Because the Court’s prior decision granting the government’s motion to transfer still stands, the Court will
not file this memorandum or the accompanying order under seal.

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